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 6                     IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                       No. CR-14-00554-001-PHX-SRB
10                 Plaintiff,                        ORDER
11   v.
12   John Keith Hoover,
13                 Defendant.
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15         The Court has considered the United States' Motion for Final Approval to Disburse
16   Proceeds from Sale of Parcel 225-66-063 (Doc. 435), the Application for Approval of

17   Attorney Fees and Costs by Dev-Tron LLC (Doc. 438), the Government's Response to the
18   Court's Order dated July 15, 2022 (Doc. 440) and Dev-Tron's Reply in Support of

19   Application for Approval of Attorney Fees and Costs (Doc. 441).

20         IT IS ORDERED granting United States' Motion for Final Approval to Disburse
21   Proceeds from Sale of Parcel 225-66-063 (Doc. 435) and the Application for Approval of
22   Attorney Fees and Costs by Dev-Tron LLC (Doc. 438).

23         IT IS FURTHER ORDERED authorizing the disbursement of the proceeds from the

24   sale of tax parcel #225-66-063 Mohave City, Arizona as set out in the Final Master

25   Statement attached as Exhibit 1 to the Motion for Final Approval.

26         Dated this 5th day of August, 2022.
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